                               NO. 07-11-0108-CV

                            IN THE COURT OF APPEALS

                       FOR THE SEVENTH DISTRICT OF TEXAS

                                  AT AMARILLO

                                    PANEL C

                               OCTOBER 13, 2011

                        ______________________________


                      DOS PANSONCITOS, INC., JIM BULLARD
                         AND JOHN HEDRICK, APPELLANTS

                                      V.

                       WILLIAM T. SISCO, M.D., APPELLEE


                       _________________________________

               FROM THE 99[TH] DISTRICT COURT OF LUBBOCK COUNTY;

               NO.2009-548,044; HONORABLE WILLIAM SOWDER, JUDGE

                        _______________________________

Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.
                              MEMORANDUM OPINION
	Appellee, William T. Sisco, M.D., filed suit against Appellants, Dos Pansoncitos, Inc., Jim Bullard and John Hendrick alleging numerous causes of action related to a written contractual agreement for the purchase of a note.  Following a bench trial, the trial court ordered that Dr. Sisco recover $50,000 in damages plus attorney's fees.  Appellants perfected this appeal.  
Pending before this Court is Appellants' Unopposed Motion to Dismiss in which they represent that there is no longer an issue in controversy as the parties have settled and compromised their differences.  Appellants request that this appeal be dismissed with prejudice and that costs be incurred against the party incurring them.
Without passing on the merits of the case, Appellants' motion is granted and the appeal is dismissed with prejudice.  Tex. R. App. P. 42.1(a)(1).  Per the motion, costs are to be assessed against the party incurring them.  Tex. R. App. P. 42.1(d).  Having dismissed the appeal at Appellants' request, no motion for rehearing will be entertained and our mandate will issue forthwith.
							Patrick A. Pirtle
							      Justice


